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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               WESTERN DIVISION

Preston Brown,                               )
                                             )
                                Plaintiff,   )       Judge Philip G. Reinhard
                                             )
               vs.                           )
                                             )       Magistrate Judge Iain D. Johnston
Northern Illinois University,                )
                                             )
                                             )       No. 15 C 50154
                                Defendant.   )

                 DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

       Defendant NORTHERN ILLINOIS UNIVERSITY, by its attorney, Lisa Madigan,

Attorney General for Illinois, pursuant to Rule 56 of the Federal Rules of Civil Procedure,

hereby moves this Court to grant summary judgment in Defendant’s favor and against Plaintiff.

The grounds for this motion are set forth in the accompanying memorandum of law.

       WHEREFORE, Defendant respectfully requests that this honorable Court grant summary

judgment in its favor, and such further relief the Court deems reasonable and just.

                                                     Respectfully Submitted,

LISA MADIGAN                                          /s/ Jennifer Lutzke
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